         Case 3:22-cv-02990-SI Document 32 Filed 08/02/22 Page 1 of 4




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   Proposed Lead Counsel for Proposed Lead Plaintiff
12
                               UNITED STATES DISTRICT COURT
13
                            NORTHERN DISTRICT OF CALIFORNIA
14
   CITY OF MIAMI FIRE FIGHTERS’ AND            ) Case No. 3:22-cv-02990-SI
15 POLICE OFFICERS’ RETIREMENT TRUST, )
   Individually and on Behalf of All Others    ) CLASS ACTION
16 Similarly Situated,                         )
                                               ) DR. KATHRYN M. FLYNN’S RESPONSE
17                               Plaintiff,    ) TO COMPETING LEAD PLAINTIFF
                                               ) MOTIONS
18        vs.                                  )
                                               ) DATE:         August 26, 2022
19 OKTA, INC., et al.,                         ) TIME:         10:00 a.m.
                                               ) CTRM:         1, 17th Floor
20                               Defendants.   ) JUDGE:        Hon. Susan Illston
                                               )
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     4861-8616-4013.v1
         Case 3:22-cv-02990-SI Document 32 Filed 08/02/22 Page 2 of 4




 1            Three motions were filed by putative class members seeking appointment as lead plaintiff in

 2 the above-captioned securities class action. See ECF 14, 22, 28. Pursuant to the Private Securities

 3 Litigation Reform Act of 1995 (“PSLRA”), district courts are to adopt a presumption that the

 4 applicant with the largest financial interest in the relief sought by the class that also satisfies the

 5 requirements of Fed. R. Civ. P. 23 is the “most adequate plaintiff.” 15 U.S.C. §78u-4(a)(3)(B)(iii).

 6            Here, while Dr. Kathryn M. Flynn suffered approximately $909,5594 in losses as a result of

 7 defendants’ alleged wrongdoing and satisfies the Rule 23 requirements at this stage, Dr. Flynn

 8 recognizes she did not suffer the greatest loss. If the Court determines that the movant with greater

 9 losses does not satisfy the PSLRA’s requirements for appointment as lead plaintiff, Dr. Flynn

10 remains ready, willing, and able to fulfill that role on behalf of the class.

11 DATED: August 2, 2022                             Respectfully submitted,

12                                                   ROBBINS GELLER RUDMAN
                                                       & DOWD LLP
13                                                   DANIELLE S. MYERS
                                                     TRICIA L. MCCORMICK
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16                                                                  s/ Danielle S. Myers
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                                                     Proposed Lead Counsel for Proposed Lead
27                                                   Plaintiff

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     DR. KATHRYN M. FLYNN’S RESPONSE TO COMPETING LEAD PLTF MOTIONS - 3:22-cv-02990-SI                 -1-
     4861-8616-4013.v1
         Case 3:22-cv-02990-SI Document 32 Filed 08/02/22 Page 3 of 4




 1                                      CERTIFICATE OF SERVICE

 2            I hereby certify under penalty of perjury that on August 2, 2022, I authorized the electronic

 3 filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

 4 notification of such filing to the email addresses on the attached Electronic Mail Notice List, and I

 5 hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

 6 non-CM/ECF participants indicated on the attached Manual Notice List.

 7                                                       s/ Danielle S. Myers
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                                                           Filed 08/02/22 Page 4 of 4
Mailing Information for a Case 3:22-cv-02990-SI City of Miami Fire Fighters and Police Officers
Retirement Trust v. Okta, Inc. et al
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